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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 CIGNA CORPORATION,                              )
                                                 )
            Plaintiff(s),                        )
                                                 )
       v.                                        )        No. 4:23-CV-00093-RLW
                                                 )
 AMY BRICKER, et al.,                            )
                                                 )
            Defendant(s).                        )
                                                 )

                                           ORDER

       Pursuant to the order of recusal by the Honorable Ronnie L. White on December 5, 2023,

      IT IS HEREBY ORDERED that the above styled cause is reassigned to the Honorable

Sarah E. Pitlyk.

December 5, 2023                              Gregory J. Linhares                  /
Date                                          Clerk of Court

                                        By: /s/ Kinica Davis              /
                                            KINICA DAVIS
                                            Deputy Clerk


In all future documents filed with the Court, please use the following case number:
4:23-CV-00093-SEP
